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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 BANCO SAN JUAN INTERNACIONAL                      §
 INC.,                                             §
                                                   §
         Plaintiff,                                §
                                                   §
         v.                                        §      Case No. 1:22-cv-01315-LPS
                                                   §
 PETRÓLEOS DE VENEZUELA S.A. and                   §
 PDVSA PETRÓLEO, S.A.,                             §
                                                   §
         Defendants.                               §

    STATUS REPORT OF PLAINTIFF BANCO SAN JUAN INTERNACIONAL, INC.

        On October 24, 2022, the Court ordered Plaintiff Banco San Juan Internacional Inc.

(“Plaintiff” or “BSJI”) and Defendants Petróleos de Venezuela S.A. (“PDVSA”) and PDVSA

Petróleo, S.A. (“Petróleo”) (together “Defendants”) to file a joint status report. As Plaintiff is in

the process of serving Defendants, the following report regarding the status of the pleadings,

service, and discovery is filed on behalf of Plaintiff.

        Status of the Pleadings and Service: BSJI filed the Complaint in this matter on October

5, 2022. On October 12, the case was initially assigned to Judge Richard G. Andrews. Thereafter,

on October 19, the case was reassigned to Judge Leonard P. Stark because it is related to Crystallex

International Corporation v. Bolivarian Republic of Venezuela (Case No. 1:17-mc-00151-LPS)

and other related cases pending before Judge Stark.

        In accordance with 28 U.S.C. § 1608(a), BSJI is seeking to serve Defendants through the

special arrangement for service contractually agreed between Plaintiff and Defendants and through

the Hague Service Convention. The summonses for each Defendant were issued on October 25,

2022.




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       BSJI filed this lawsuit to recognize its two foreign judgments against Defendants

pronounced by The High Court of Justice, Business and Property Courts of England and Wales,

Commercial Court (QBD) in the United Kingdom (“U.K.”). Venue is proper in this judicial district

pursuant to 28 U.S.C. § 1391(f)(1) because a substantial part of the property that is the subject of

this enforcement action is situated in Delaware and pursuant to 28 U.S.C. § 1391(f)(3) because

Defendants are licensed to do business or are doing business in Delaware within the meaning of

28 U.S.C. § 1603. Additionally, BSJI filed this action in this judicial district because of the ongoing

litigation in this Court regarding the sale of PDVSA’s shares in PDV Holding Inc. (“PDVH”) to

satisfy various judgment creditors of Venezuela and its state-owned entities, including PDVSA.

       On October 7, 2022, the Court entered an order in Crystallex v. Venezuela (Case No. 1:17-

mc-00151-LPS, Doc. No. 481) setting out the schedule and process for the sale of PDVH shares.

Among other things, this Order established a deadline by which “the Court will decide in

accordance with applicable law which, if any, additional judgments (the ‘Additional Judgments,’

and with the Crystallex Judgment, the ‘Attached Judgments’) are to be considered by the Special

Master for purposes of the Sale Transaction.” After domesticating its foreign U.K. judgments

through this action, BSJI seeks to convert these judgments into “additional judgments” or

“attached judgments” to be considered by Special Master Robert B. Pincus for purposes of the sale

procedure of PDVH shares.

       Discovery Planning Conference: Plaintiff is prepared to meet and confer with Defendants

regarding a date to conduct a Rule 26(f) conference and expects to submit a proposed discovery

plan within 14 days after completion of this conference in accordance with Rule 26(f)(2).




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Dated: October 31, 2022                       Respectfully submitted,

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                                               UEBLER LLC

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